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                         UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

Jose Maria Decastro,

      Plaintiff,

               v.                                      Case No. 1:22cv204

Pam Wagner, et al.,

      Defendants.

                             JUDGMENT IN A CIVIL CASE

      [      ] JURY VERDICT: This action came before the Court for a trial by jury. The
               issues have been tried and the Jury has rendered its verdict.

      [ X]    DECISION BY COURT: This action came to trial or hearing before the Court.
              The issues have been tried or heard and a decision has been rendered.


IT IS ORDERED AND ADJUDGED: Defendants’ unopposed Motion to Dismiss (Doc.
21) and Motion for Judgment on the Pleadings (Doc. 23) are both GRANTED, and this
matter is CLOSED and TERMINATED from the Court's active docket.


Date: December 6, 2022                    Richard W. Nagel, Clerk
                                         Clerk

                                   By:    s/ Krista Zeller
                                         Deputy Clerk
